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                                   UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF COLORADO

 In re:                                             )
                                                    )
 11380 SMITH RD LLC                                 )      Case No. 18-10965 TBM
 EIN XX-XXXXXXX                                     )      Chapter 11
                                                    )
 Debtor.                                            )


                               SECOND AMENDED PLAN OF REORGANIZATION                                     |


             11380 Smith Rd LLC, Debtor-in-Possession (“Debtor”), proposes this Second                   |

 Amended Plan of Reorganization (“Plan”), pursuant to §1121 of the Bankruptcy Code (11                   |

 U.S.C. §1121). This Plan is dated July 11September 20, 2018.                                            |


                                                  ARTICLE I.

                                                 DEFINITIONS

             The following terms, when used in the Plan, shall have the following meanings:

             1.1         11380 East Smith Rd Investments, LLC shall mean a creditor of the Debtor

 that holds an allowed secured claim secured by a perfected security interest recorded

 against the Debtor’s Real Property. 11380 East Smith Rd Investments, LLC is not related

 to or an affiliate of the Debtor.

             1.2         Administrative Expenses shall mean those expenses entitled to priority under

 the provisions of §§507 and 503(b) of the Bankruptcy Code, including actual and necessary

 costs and expenses of preserving the estate.

             1.3         Allowed Claim shall mean a claim (a) in respect of which a Proof of Claim has

 been timely filed with the Court within the applicable period of limitation fixed by Bankruptcy


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 Rule 3003 or (b) scheduled in the list of creditors prepared and filed with the Court by the

 Debtor pursuant to Bankruptcy Rules 1007 and 3003, and not listed as disputed, contingent

 or unliquidated as to amount, in either case as to which no objection to the allowance

 thereof has been interposed within any applicable period of limitation pursuant to

 Bankruptcy Rule 3007 or an Order of the Court, or as to which any such objection has been

 terminated by an Order or Judgment which is no longer subject to appeal, or certiorari

 proceeding and as to which no appeal or certiorari proceeding is pending.

             1.4         Assets shall mean all property rights and Interest, real and personal, owned

 by the Debtor or the Estate as of the Effective Date established herein.

             1.5         Bankruptcy Code shall mean Title I of the Bankruptcy Reform Act of 1978,

 11 U.S.C. §1101 et seq., as amended (“Code”).

             1.6         Brown Dunning Walker, PC, 2000 South Colorado Blvd., Tower Two, Suite

 700, Denver, CO 80222, shall mean the attorneys hired with Bankruptcy Court approval to

 represent the Debtor as special counsel in its Chapter 11 proceeding. To the extent

 allowed by the Court, Brown Dunning Walker, PC’s fees and expenses are entitled to

 payment as Chapter 11 expenses for services provided to the Debtor. Brown Dunning

 Walker, PC is a Professional Person as described herein.

             1.7         CBRE, Inc., 8390 E. Crescent Pkwy., Ste. 300, Greenwood Village, CO

 80111, shall mean the real estate broker hired with Bankruptcy Court approval to sell the

 Debtor’s Real Property. To the extent allowed by the Court, CBRE, Inc.’s fees and

 expenses are entitled to payment as Chapter 11 administrative expenses. CBRE, Inc. is

 a Professional Person as described herein.

             1.8         Chapter 11 shall mean Chapter 11 of the Code.

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             1.9         Claim shall mean a claim against the Debtor as defined in 11 U.S.C. §101(5).

             1.10        Class shall mean any class of creditors or interests described in Article II of

 the Plan.

             1.11        Closing Date shall mean the date that the sale or refinance of the Debtor’s

 Real Property closes.

             1.12        Confirmation Date shall mean the date on which the Plan is confirmed by the

 Bankruptcy Court.

             1.13        Confirmation Order shall mean a Final Order of the Bankruptcy Court

 confirming the Plan in accordance with the provisions of Chapter 11 of the Code.

             1.14        Court or Bankruptcy Court shall mean the United States Bankruptcy Court

 for the District of Colorado, unless otherwise identified.

             1.15        Debtor shall mean Debtor-in-Possession, 11380 Smith Rd LLC. The terms

 “Debtor” and “Debtor-in-Possession” may be used interchangeably in the within Plan but

 shall have the same meaning. The Debtor, 11380 Smith Rd LLC, is the proponent of this

 Plan of Reorganization.

             1.16        Disallowed Claim shall mean any claim or portion thereof that has been

 disallowed by a Final Order of the Bankruptcy Court.

             1.17        Disputed Claim shall mean any claim which has been scheduled by the

 Debtor as disputed, contingent or unliquidated, or any claim as to which an objection has

 been filed and allowance or disallowance of such claim has not been determined by a Final

 Order.




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                 1.18        Drop Dead Date shall mean January 1, 2019, the date that the Debtor must

     obtain a Bankruptcy Court Order authorizing the Debtor to sell or refinance its Real

     Property.

|                1.19        Effective Date shall mean the later of thirty (30) days followingafter the

| Confirmation OrderClosing Date or, if there is no Closing Date, thirty (30) days after a Final

| Order in the U.S. District Court for the District of Colorado Proceeding.

                 1.20        Estate shall mean the estate created and existing in this case pursuant to

     §541 of the Bankruptcy Code.

                 1.21        Final Order shall mean an Order or a Judgment as to which the time to seek

     certiorari, appeal, review or a hearing has expired and as to which no writ of certiorari,

     appeal or petition for review or a hearing or rehearing is pending.

                 1.22        Interest payable to the holders of Allowed Unsecured Claims (“Unsecured

     Interest”) shall mean the current Federal Judgment Interest Rate or such appropriate rate

     as is determined by the Court.

                 1.23        Merlin Law Group, P.A., 999 18th Street, Suite 3000, Denver, CO 80202, shall

     mean the attorneys hired with Bankruptcy Court approval to represent the Debtor as

     special counsel in the U.S. District Court for the District of Colorado Proceeding. To the

     extent allowed by the Court, Merlin Law Group, P.A.’s fees and expenses are entitled to

     payment as Chapter 11 expenses for services provided to the Debtor. Merlin Law Group,

     P.A. is a Professional Person as described herein.

                 1.24        Net Proceeds shall mean the net proceeds from the sale or refinance of the

     Debtor’s Real Property after payment of closing costs, post-petition real property taxes,

     commissions and other expenses of the closing of the sale of the Debtor’s Real Property.

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             1.25        Personal Property shall mean the Debtor’s Assets excluding the Debtor’s

 Real Property.

             1.26        Petition Date shall mean February 13, 2018, the date on which the Debtor

 filed its voluntary Chapter 11 petition with the Court.

             1.27        Plan shall mean this Plan of Reorganization and such amendments, if any,

 as may be proposed by the Debtor.

             1.28        Professional Person shall mean an attorney, accountant, appraiser or real

 estate broker hired with Bankruptcy Court approval to represent or provide services to the

 Debtor during the pendency of the Debtor’s Chapter 11 bankruptcy proceeding.

             1.29        Pro Rata shall mean with respect to any holder of an allowed claim in a

 particular class, the proportion that claim bears to the amount of all allowed claims in that

 class.

             1.30        Real Property shall mean the real property owned by the Debtor located at

 11380 East Smith Road, Aurora, CO 80010.

             1.31        Reorganized Debtor shall mean the Debtor following that date which the

 Confirmation Order confirming the Plan becomes a Final Order.

             1.32        Springer & Steinberg PC, 1600 Broadway, Suite 1200, Denver, CO 80202,

 shall mean the attorneys hired with Bankruptcy Court approval to represent the Debtor as

 special counsel in the U.S. District Court for the District of Colorado Proceeding. To the

 extent allowed by the Court, Springer & Steinberg PC’s fees and expenses are entitled to

 payment as Chapter 11 expenses for services provided to the Debtor. Springer & Steinberg

 PC is a Professional Person as described herein.



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                 1.33        Stipulated Agreement shall mean the Agreement entered into between the

     Debtor and 11380 East Smith Rd Investments, LLC. The Agreement has been approved

     by the Bankruptcy Court by entry of a final order.

                 1.34        Unsecured Claims shall mean the Allowed Claims against the Debtor which

     are unsecured and which are other than Allowed Priority Claims and Administrative

     Expenses, and shall include any Deficiency Claim(s) arising to the holder of an Allowed

     Secured Claim, pursuant to the provisions of 11 U.S.C. §506, after a hearing pursuant to

     Rule 3012 of the Bankruptcy Rules or resulting from any agreement reached between the

     Claimant and the Debtor in which it is determined that the value of the collateral securing

     the claim is less than the Allowed Claim.

                 1.35        Unsecured Creditors shall mean the holders of allowed Unsecured Claims

     in the estate.

                 1.36        U.S. District Court for the District of Colorado Proceeding shall mean Case

     No. 2017-CV-00346, Owners Insurance Company, Plaintiff and Counterclaim Defendant

     v. 11380 East Smith Road, LLC and 355 Moline, LLC, Defendants and Counterclaim

     Plaintiffs.

                 1.37        Weinman & Associates, P.C., 730 17th Street, #240, Denver, CO 80202-3506,

     shall mean the attorneys hired with Bankruptcy Court approval to represent the Debtor in

     the within Chapter 11 bankruptcy proceeding. To the extent allowed by the Court,

     Weinman & Associates, P.C.’s fees and expenses are entitled to payment as Chapter 11

     Administrative Expenses for services provided to the Debtor. Weinman & Associates, P.C.

     is a Professional Person as defined herein.

|

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                                                     ARTICLE II.                                        |

    CLASSIFICATION OF CREDITORS’ CLAIMS AND EQUITABLE INTERESTS AND
       IMPAIRMENT OF CREDITORS’ CLAIMS AND EQUITABLE INTERESTS

 A.          CREDITOR CLAIMS AND EQUITABLE INTERESTS IN THE DEBTOR ARE

 CLASSIFIED AND IMPAIRED IN THE PLAN AS FOLLOWS:

             (1)         Class 1 consists of the allowed secured claim of the Adams County Colorado

 Treasurer’s Office secured by a statutory lien on the Debtor’s Real Property. Class 1 is

 impaired under the Plan.

             (2)         Class 2 consists of the allowed secured claim of 11380 East Smith Rd

 Investments, LLC secured by a lien on the Debtor’s Real Property. Class 2 is impaired

 under the Plan.

             (3)         Class 3 consists of the holders of allowed general unsecured claims. Class

 3 is impaired under the Plan.

             (4)         Class 4 consists of the holder of an equitable interest in the Debtor. Class

 4 is not impaired under the Plan.

                                                 ARTICLE III.

      TREATMENT OF CLASS OF EQUITABLE INTEREST WHICH IS NOT IMPAIRED
                             UNDER THE PLAN

             Provision for the treatment of creditor claim and holder of equitable interest in the

 Debtor is set forth below.

             3.1         Class 4. The holder of an equitable interest in the Debtor shall retain such

 interest in the Debtor to the same extent as his pre-petition equitable interest in the Debtor.

 The holder of such equitable interest shall not be paid until the holders of allowed



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  administrative expenses, allowed secured claims, and allowed unsecured claims are paid

  in full as provided for in this Plan.

                                                 ARTICLE IV.

       TREATMENT OF CLASSES OF CREDITORS’ CLAIMS IMPAIRED UNDER THE
                                  PLAN

              Provision for payment of or treatment of creditor classes impaired under the Plan is

  set forth below.

              4.1         Class 1. Adams County Colorado Treasurer’s Office. The holder of an

  allowed secured claim in Class 1 shall be paid the allowed amount of its secured claim plus

| appropriate statutory interest from the Net Proceeds on the EffectiveClosing Date. The

  holder of the allowed secured claim in Class 1 shall retain its lien(s) to the same extent and

  in the same priority as its pre-petition lien(s) pending payment in full of its allowed secured

  claims. To the extent that the secured claim of the Class 1 creditor is not paid in full, such

  unpaid amount shall be allowed as an unsecured claim and paid as provided for in Class

  3 of the Plan. Upon payment in full, the lien(s) of the Class 1 creditor shall be released.

              4.2         Class 2. 11380 East Smith Rd Investments, LLC. The holder of the allowed

  secured claim in Class 2 will be paid from the Net Proceeds from the sale or refinance of

| the Debtor’s Real Property on the EffectiveClosing Date. The amount of the allowed

  secured claim of the Class 2 creditor shall be paid as provided for under the terms of the

  Stipulated Agreement. The terms and conditions of the Stipulated Agreement are

  incorporated into and made a part of this Plan. A copy of the Stipulated Agreement is

  attached hereto as Exhibit “1”. To the extent that the allowed secured claim of the Class

  2 creditor is not paid in full, such unpaid amount shall be allowed as an unsecured claim


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 and paid as provided for in Class 3 of the Plan. Upon payment in full, the lien securing the

 claim of the Class 2 creditor shall be released and the Debtor shall own its Real Property

 free and clear of the lien of the Class 2 creditor.

             4.3         Class 3. Unsecured Claims. Class 3 consists of the Allowed Unsecured

 Claims of the Debtor’s Unsecured Creditors. The allowed unsecured claims of the Class

 3 creditors shall be paid in full plus Unsecured Interest from the Net Proceeds from the sale

 or refinance of the Debtor’s Real Property, after the Debtor’s creditors with allowed secured

 claims are paid in full on the Effective Date. Any disputed Unsecured Claims of the Class            |

 3 creditors shall be paid in full with Unsecured Interest pursuant to the terms of the Plan

 when such Disputed Unsecured Claims become Allowed Unsecured Claims as a result of

 a Final Order entered by the Court allowing such unsecured claims.

                                                ARTICLE V.

         PAYMENT OF UNCLASSIFIED ALLOWED CHAPTER 11 ADMINISTRATIVE
             EXPENSES AND ALLOWED UNSECURED PRIORITY CLAIMS

             5.1         Payment of allowed Chapter 11 Administrative Expenses and allowed

 Unsecured Priority Claims not classified under the Plan is set forth in Paragraph 5.2 below.

             5.2         Administrative Expenses. Chapter 11 Administrative Expenses are identified

 as follows:

             (a)         Counsel (Weinman & Associates, P.C.) employed to represent the Debtor in

                         the within bankruptcy proceeding;

             (b)         Special Counsel (Brown Dunning Walker, PC) employed to represent the

                         Debtor as special counsel;




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              (c)         Special Counsel (Merlin Law Group, P.A.) employed to represent the Debtor

                          as special counsel in the U.S. District Court for the District of Colorado

                          Proceeding;

              (d)         Special Counsel (Springer & Steinberg PC) employed to represent the

                          Debtor as special counsel in the U.S. District Court for the District of

                          Colorado Proceeding;

              (e)         Real Estate Broker (CBRE, Inc.) employed to sell the Debtor’s Real Property;

              (f)         Fees required to be paid to the U.S. Trustee pursuant to 28 U.S.C. §1930;

                          and,

              (g)         Post-petition fees and expenses, including taxes, incurred by the Debtor’s

                          bankruptcy estate in the ordinary operation and management of the Debtor’s

                          business and/or financial affairs.

              The holders of allowed expenses in Paragraphs 5.2(a) through (d) shall submit their

  requests for payment to the Court and the Debtor shall pay such Allowed Chapter 11

  Administrative Expenses only upon approval by and in the amount allowed by the Court.

              The holders of allowed expenses in Paragraphs 5.2(a) through (d) shall be paid the

  allowed amount of their Chapter 11 Administrative Expenses on the Effective Date of the

  Plan provided the Court has entered final, non-appealable orders allowing such

  Administrative Expenses or as may be otherwise agreed to by these Administrative

  Claimants and the Debtor.

              The holder of allowed expenses in Paragraph 5.2(e) shall be paid at the closing on

  the sale or refinance of the Debtor’s Real Property.



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              U.S. Trustee fees required to be paid pursuant to 28 U.S.C. §1930 identified in

  Paragraph 5.2(f) shall be timely paid until such time as the within Chapter 11 case is

  dismissed, converted or closed by order of the Bankruptcy Court.

              Fees and other expenses identified in Paragraph 5.2(g) shall be paid pursuant to the

  terms of any agreement and/or in the ordinary course of the Debtor’s business and/or

  financial affairs according to ordinary business terms. Any unpaid and due post-petition

  taxes owing by the Debtor’s bankruptcy estate will be paid in full on or before the Effective

  Date of the Plan.

              5.3         Allowed Unsecured Priority Claims. Any unpaid and allowed Unsecured

  Priority Claims shall be paid in full with an appropriate rate of interest in monthly payments

  of principal and interest at the appropriate statutory rate amortized over a period of not

  longer than 48 months beginning on the Effective Date with the first payment of principal

  and interest due on the Effective Date and continuing monthly thereafter up to an additional

  47 months until any such priority claim is paid in full.

                                                      ARTICLE VI.

                                    MEANS FOR IMPLEMENTATION OF THE PLAN

              6.1         Upon confirmation of the Plan, the Reorganized Debtor will implement their

  Plan as follows:

              (a)         Upon entry of the Confirmation Order, title in the Debtor’s Assets, except as

                          otherwise provided for herein, will be transferred to the Reorganized Debtor.

                          The Debtor appoints Louis Hard to implement the provisions of the

                          Confirmed Plan to pay creditor claims as provided for in the Plan and to



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                          pursue the Debtor’s legal claims in the U.S. District Court. Mr. Hard will not

                          be paid for his services in implementing the provisions of the Plan.

              (b)         The Debtor will pay all taxes due after entry of the Confirmation Order in the

                          ordinary course of business and will insure and properly maintain its Assets.

              (c)         The Debtor will pay the holders of allowed Chapter 11 Administrative

                          Expenses on the Effective Date of the Plan unless otherwise agreed to

                          between these parties and the Debtor, or as otherwise provided for in the

                          Debtor’s Plan.

              (d)         The Debtor will pay the holders of allowed unsecured claims in Class 3 as

                          provided for under the terms of the within Plan.

              (e)         The Debtor will continue to list its Real Property for sale or refinance and will

                          pay the holders of allowed secured claims secured by lien(s) recorded

                          against the Debtor’s Real Property in Classes 1 and 2 of the Plan from the

                          Net Proceeds from the sale or refinance of its Real Property on the

                     | EffectiveClosing Date.

              (f)         The Debtor will provide adequate protection to the holders of allowed

                          secured claims secured by an interest in its Real Property pending the sale

                          or refinance of its Real Property by continuing maintenance of the Real

                          Property, providing for insurance and paying post-confirmation taxes.

              (g)         The Debtor shall pursue its legal claims and/or defenses against Owner’s

                          Insurance Company in the U.S. District Court for the District of Colorado

                          Proceeding.



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              (h)         In the event the Debtor has not obtained an Order approving the sale or

                          refinance of the Debtor’s Real Property by January 1, 2019 (the “Drop Dead

                          Date”), 11380 East Smith Rd Investments, LLC shall be entitled to relief from

                          the automatic stay to pursue its foreclosure proceeding against the Debtor’s

                          Real Property as provided for in the Stipulated Agreement.

              6.2         The Reorganized Debtor will pay quarterly fees to the U.S. Trustee as

                          required by the Bankruptcy Code until its case is closed, converted to a

                          Chapter 7 case or dismissed by the Bankruptcy Court.

              6.3         Objections to Claims.

              (a)         The Debtor shall object, when appropriate to any administrative expense,

                          secured or unsecured claim; and

              (b)         The Debtor shall bring any preference or fraudulent conveyance claims as

                          appropriate.

              6.4         Payment of Allowed Claims and Administrative Expenses Under the Plan.

  The Reorganized Debtor shall make payments to creditors and administrative expense

  claimants as provided for under the terms of the within Plan. Payments to creditors and

  administrative expense claimants under the Plan shall be made by check and shall be

  mailed to each creditor and/or administrative expense claimant with an allowed claim at the

  address set forth in the Debtor’s Statements and Schedules filed with the Court or as set

  forth in any Proof of Claim, other pleading or change of address notification, etc. filed with

  the Court.

              6.5         Unclaimed Distributions. For a period of one year following the date a

  payment is due under the within Plan, the Reorganized Debtor shall retain in a reserve

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  account for issuance any unclaimed distributions for the benefit of the holders of allowed

  claims and/or administrative expenses which have failed to claim such distributions.

  Following the one year period after such distributions are due, the holders of allowed claims

  or allowed administrative expenses theretofore entitled to such distributions held in such

  reserve account shall cease to be entitled thereto and such unclaimed distributions shall

  become property of the Reorganized Debtor.

                                                     ARTICLE VII.

                             UNEXPIRED EXECUTORY CONTRACTS AND LEASES

              7.1         Unexpired Executory Contracts and Leases.

                          (a)        The following unexpired executory contracts and/or leases shall be

                          assumed by the Debtor upon confirmation of the Debtor’s Plan unless

                          assumed prior to confirmation of the Debtor’s Plan: None.

                          (b)        All unexpired executory contracts and/or leases of the Debtor neither

                          assumed pursuant to the Plan nor pursuant to an order of the Court prior to

                          confirmation of the Plan shall be deemed to be rejected upon confirmation

                          of the Plan.       These unexpired executory contracts and/or leases are

                          identified as follows: None.

                                                     ARTICLE VIII.

                                           MISCELLANEOUS PROVISIONS

              8.1         Procedures for Resolving Contested Matters.

                          (a)       The Reorganized Debtor’s objections to claims shall be filed with the

                                    Court and shall be served on the holder of each of the claims to which



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                                    objections are filed by no later than 180 days after the Effective Date.

                                    The Reorganized Debtor shall litigate to judgment, settle or withdraw

                                    objections to all such Disputed Claims; and

                          (b)       No payments or distributions shall be made under the Confirmed Plan

                                    with respect to all or any portion of a Disputed Claim or Administrative

                                    Expense unless and until all objections to such Disputed Claim or

                                    Administrative Expense have been determined by Final Order of the

                                    Court. Payments and distributions to holders of Disputed Claims or

                                    Administrative Expenses under the Confirmed Plan, to the extent such

                                    become Allowed Claims or Administrative Expenses, shall be made in

                                    accordance with the provisions of this Plan.

              8.2         Compromise and Settlement of Claims and/or Disputes. The Reorganized

  Debtor shall be authorized to compromise and settle any claim and/or dispute which it may

  have against any entity or which may have been brought by any entity against the Debtor.

  Any such compromise or settlement shall be subject to approval by the Bankruptcy Court

  after notice and opportunity for hearing as provided for pursuant to Rule 9013 of the Local

  Rules of Bankruptcy Procedure for the United States Bankruptcy Court for the District of

  Colorado.

              8.3         Provisions for Execution and Supervision of the Plan:               Retention of

  Jurisdiction.

                          (a)       The Court shall retain and have exclusive jurisdiction over the Chapter

                                    11 case for the following purposes to the extent authorized by the

                                    Code:

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                                    (1) To determine any and all objections to the allowance of claims;

                                    (2)     To determine any and all applications for allowances of

                                    compensation and reimbursement of expenses and any other fees and

                                    expenses authorized to be paid or reimbursed under the Code or the

                                    Plan;

                                    (3) To determine any applications pending on the Effective Date for

                                    the rejection or assumption of executory contracts or unexpired leases

                                    for the assumption and assignment, as the case may be, of those

                                    executory contracts or unexpired leases to which the Debtor is a part

                                    or with respect to which the Debtor may be liable, and to hear and

                                    determine, and if need be, to liquidate any and all claims arising

                                    therefrom;

                                    (4) To determine any and all applications, adversary proceedings and

                                    contested or litigated matters that may be pending on the Effective

                                    Date;

                                    (5) To consider any modifications of the Plan, remedy any defect or

                                    omission or reconcile any inconsistency in any Order of the Bankruptcy

                                    Court, including the Confirmation Order;

                                    (6) To determine all controversies, suits and disputes that may arise

                                    in connection with or interpretation, enforcement or consummation of

                                    the Plan;

                                    (7) To consider and act on the compromise and settlement of any

                                    claim or cause of action by or against the Debtor’s Estate;

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                                    (8) To resolve any pending disputes regarding the Debtor’s interest in

                                    property;

                                    (9) To issue orders in aid of execution of the Plan to the extent

                                    authorized by 11 U.S.C. §1142 of the Code; and

                                    (10) To determine such other matters as may be set forth in the

                                    Confirmation Order or as may arise in connection with the Plan or the

                                    Confirmation Order.

                          (b)       The Plan may be amended by the Debtor and/or the Reorganized

                                    Debtor before or after the Confirmation Date as provided in 11 U.S.C.

                                    §1127 of the Code.

              8.4         Payment of Fees Pursuant to 11 U.S.C. §1129(12). All fees required to be

  paid by 28 U.S.C. §1930 will be paid as required therein until such time as the within

  Chapter 11 case is dismissed, converted or closed by order of the Bankruptcy Court. The

  Reorganized Debtor shall file quarterly post-confirmation reports until the case is closed.

              8.5         Modification of Payment Terms. The treatment of any Allowed Claim may be

  modified or reduced at any time after the Confirmation Date upon the consent of the

  creditor whose Allowed Claim treatment is being modified.

              8.6         Retention of Liens. Except as may be otherwise provided for in this Plan,

  creditors whose claims are secured by lien(s) against the Debtor’s Assets or otherwise

  claim an interest in such Assets shall retain such liens to the extent of their allowed secured

  claims and in the same priority as their pre-petition liens or, shall retain their interest in such

  Assets to the same extent and in the same priority as their pre-petition interests in such

  Assets.

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              8.7         Discharge of Debtor. Upon the entry of a discharge of the Debtor, all

  creditors and holders of interests shall be precluded from asserting against the Debtor and

  its Assets, any other or future claim or interest based on any act or omission, transaction

  or other activity of any kind that occurred prior to the Effective Date.

              8.8         Debtor’s Assets. Except as provided for in the Plan or in the Confirmation

  Order, upon Confirmation of the Plan, the Reorganized Debtor shall be vested with full

  ownership of and dominion over its Assets free and clear of all claims, liens, charges and

  other interests of creditors arising prior to the filing of the bankruptcy petition and except

  as otherwise provided in the Plan. Upon confirmation of the within Plan, the Reorganized

  Debtor may manage their financial affairs free of any restrictions of the Bankruptcy Code,

  the Bankruptcy Court or the United States Trustee except as otherwise provided in the

  Plan.

              8.9         Final Report. The Debtor will file its Final Report and seek to obtain a Final

  Decree administratively closing its Chapter 11 proceeding no later than 180 days after entry

  of the Confirmation Order unless not otherwise able to do so. The Reorganized Debtor will

  make quarterly post-confirmation reports to the Court and the U.S. Trustee until such time

  as the Final Decree is entered by the Court.

              8.10        Default. In the event of a default by the Reorganized Debtor with respect to

  payments to creditors under this Plan, such creditors shall be entitled to take action to

  collect the amount of their debt as provided for in the Confirmed Plan with whatever

  collection remedies it normally would have available when payments to such creditors are

  not made as scheduled were this case not in bankruptcy. The creditors shall give the

  Reorganized Debtor written notice of any default and the Reorganized Debtor shall have

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  ten (10) calendar days to cure such default. Any failure to act on any default or acceptance

  of late payments will not act as a waiver by the creditor to act on further defaults.




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                                                        DEBTOR-IN-POSSESSION                     |
                                                        11380 SMITH RD LLC


                                                        /s/ Louis Hard
                                                        Manager/Member



              Respectfully submitted,

              WEINMAN & ASSOCIATES, P.C.



              By: /s/ Jeffrey A. Weinman
                      Jeffrey A. Weinman, #7605
                      730 17th Street, Suite 240
                      Denver, CO 80202-3506
                      Telephone: (303) 572-1010
                      Facsimile: (303) 572-1011
                      jweinman@weinmanpc.com
              Counsel for Debtor-in-Possession
              11380 Smith Rd LLC




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